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1     Deverie J. Christensen
      Nevada State Bar No. 6596
2     JACKSON LEWIS P.C.
      300 South Fourth Street, Suite 900
3     Las Vegas, Nevada 89101
      Tel: (702) 921-2460
4     Email: deverie.christensen@jacksonlewis.com

5     Attorneys for Defendant
      Tesla, Inc. fka Tesla Motors, Inc.
6
7                                   UNITED STATES DISTRICT COURT

8                                          DISTRICT OF NEVADA

9      MALCOLM SHEPHERD,                                   Case No.

10                    Plaintiff,

11            vs.                                          NOTICE TO FEDERAL COURT OF
                                                           REMOVAL OF CIVIL ACTION
12     TESLA, INC., (a.k.a. TESLA MOTORS, INC.)            FROM STATE COURT
       a Delaware Corporation; DOES I-X; and, ROE
13     Business Entities I-X,

14                    Defendants.

15
16           Pursuant to 28 U.S.C. § 1332(d), Defendant hereby notifies the Court of the removal of

17    Malcolm Shepherd v. Tesla, Inc., (a.k.a. Tesla Motors, Inc.) a Delaware Corporation; DOES I-X;

18    and, ROE Business Entities I-X., Case No. A-24-907076-C, which was filed in the Eighth Judicial

19    District Court in Clark County, Nevada. In support of said removal, Defendant states as follows:

20           1.      On November 29, 2024, an action was commenced in the Eighth Judicial District

21    Court of Clark County, Nevada, entitled Malcolm Shepherd v. Tesla, Inc., (a.k.a. Tesla Motors,

22    Inc.) a Delaware Corporation; DOES I-X; and, ROE Business Entities I-X. A copy of the

23    Complaint is attached hereto as Exhibit A.

24           2.      Defendant was served on February 14, 2025 with a copy of the Complaint and a

25    Summons issued by the state court on or about December 5, 2024. A copy of the Summons is

26    attached hereto as Exhibit B.

27           3.      This action is properly removed to federal court under federal question jurisdiction

28    because Plaintiff’s Complaint contains claims which arise under federal law, specifically, Title VII
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1     of the Civil Rights Act of 1964, 42 U.S.C. § 2000e and the Civil Rights Act of 1866, 42 U.S.C. §

2     1981. See 28 U.S.C. § 1441.

3            4.      This Notice of Removal is being filed within thirty (30) days of receipt of any

4     pleadings setting forth the claim for relief upon which the action is based and is, therefore, timely

5     under 28 U.S.C. § 1331 and § 1446(b).

6            5.      This action is a civil action of which this Court has original jurisdiction under 28

7     U.S.C. § 1331, and is one which may be removed to this court pursuant to the provisions of 28

8     U.S.C. § 1441(b), in that it is a civil action arising under the Constitution, laws, or treaties of the

9     United States. Specifically, Plaintiff alleges conduct in violation of the Title VII of the Civil Rights

10    Act of 1964, 42 U.S.C. § 2000e and the Civil Rights Act of 1866, 42 U.S.C. § 1981. Any remaining

11    state law claims are also properly removed pursuant to the Court’s supplemental jurisdiction. 28

12    U.S.C. § 1367(a).

13           6.      Venue is proper in the unofficial northern division of this court, pursuant to Local

14    Rule IA 1-6, as the complaint states the events giving rise to this lawsuit occurred in Storey County,

15    Nevada. Venue is proper as this is the court for the district and division embracing the place where

16    the action is pending in state Court. 28 U.S.C. § 1391.

17           WHEREFORE, Defendants pray that the above-referenced action now pending in the

18    Eighth Judicial District Court of the State of Nevada in and for the County of Clark be removed

19    therefrom to this Court.

20           Dated this 7th day of March, 2025.

21                                                           JACKSON LEWIS P.C.

22
                                                             /s/ Deverie J. Christensen
23                                                           Deverie J. Christensen, Bar # 6596
                                                             300 South Fourth Street, Suite 900
24                                                           Las Vegas, Nevada 8910

25                                                           Attorney for Defendant

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1                                     CERTIFICATE OF SERVICE

2              I HEREBY CERTIFY that I am an employee of Jackson Lewis P.C., and that on this 7th day

3     of March, 2025, I caused to be served via the Court's CM/ECF Filing, a true and correct copy of

4     the above foregoing NOTICE TO FEDERAL COURT OF REMOVAL OF CIVIL ACTION

5     FROM STATE COURT properly addressed to the following:

6     James P. Kemp, Esq.
      Kemp & Kemp
7     7435 W. Azure Drive, Ste. 110
      Las Vegas, Nevada 89130
8
      Attorney for Plaintiff
9     Malcolm Shepherd

10
                                                         /s/ Kelley Chandler
11                                                       Employee of Jackson Lewis P.C.

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